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                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                                   CASE NO: 18-03401-JW

DAVID JOSEPH HOWARD                                      (CHAPTER 13)
JESSICA MILLS HOWARD


                           Debtors
           NOTICE OF MOTION TO DISMISS CHAPTER 13 CASE AND POSSIBLE HEARING

    James M. Wyman, the Chapter 13 Trustee, has filed papers with the court to dismiss this Chapter 13 case .

    Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case . (If you do not have an attorney, you may wish to consult
one.)

    If you do not want the court to dismiss this Chapter 13 case , or if you want the court to consider your views on
the motion to dismiss, then on or before twenty-one (21) days from the date of service, you or your attorney must:

    File with the court a written response explaining your position at:

                  U.S. Bankruptcy Courthouse
                  J. Bratton Davis
                  1100 Laurel Street
                  Columbia, SC 29201-2423

    If you mail your response to the court for filing , you must mail it early enough so the court will receive it on or
before the date stated above.

    You must also send a copy to:

                  James M. Wyman
                  Office of the Chapter 13 Trustee
                  P.O. Box 997
                  Mt. Pleasant, SC 29465-0997

    If a response is filed, a hearing will be held on March 12 , 2019 at 9:00 am at 145 King Street, Room 225,
Charleston, SC 29401.

    If you or your attorney do not take these steps , the court may decide that you do not oppose the relief sought in
the motion and may enter an order granting that relief .



Dated: February 08, 2019                                            /s/ Kimberly Lamontagne
                                                                    PO Box 997
                                                                    Mt. Pleasant, SC 29465-0997
                                                                    Phone: (843) 388-9844
                                                                    Fax: (843) 388-9877
                                                                    Email: 13office@charleston13 .com
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                                  UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                               CASE NO: 18-03401-JW

DAVID JOSEPH HOWARD                                  (CHAPTER 13)
JESSICA MILLS HOWARD
                                                      TRUSTEE'S MOTION TO DISMISS CHAPTER 13 CASE FOR
                                                                       NON-PAYMENT
                           Debtors

     NOW COMES the Chapter 13 Trustee in this case and alleges:

     1. This court has juridiction over this matter under 28 U.S.C. Section 1334 and 11 U.S.C. Section 1307(c)(5).

     2. The Debtors in this case have not made the required payments under the plan .

     3. Debtors is/are past due $4,900.00 as of January 2019. The Trustee requests that the Debtors cure the
     delinquency as follows:

      Payments as follows to be received by the Trustee by the end of the following months:
         February 2019     at $2,450.00
         March 2019        at $3,267.00
         April 2019        at $3,267.00
         May 2019          at $3,267.00
         June 2019         at $3,267.00
         July 2019         at $3,267.00
         August 2019       at $3,267.00
      Resume regular monthly payments of $2,450.00 beginning September 2, 2019.
     4. If the Debtors are currently or in the process of having Trustee payments automatically debited from a
     paycheck, checking, or savings accounts, ONLY the Debtors('s) regular monthly payment can be deducted .
     Debtors are responsible for sending in the EXTRA payments needed to bring the case current .

     5. The Trustee requests that should the Debtors fail to cure the delinquency as set forth above , that an order
     be entered dismissing the case.

Dated: February 08, 2019                                        /s/ James M. Wyman
                                                                James M. Wyman
                                                                Chapter 13 Trustee
                                                                PO Box 997
                                                                Mt. Pleasant, SC 29465-0997
                                                                Phone: (843) 388-9844
                                                                Fax: (843) 388-9877
                                                                Email: 13office@charleston13 .com
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18-03401-JW
                                CERTIFICATE OF SERVICE

 I did this date serve the attached document(s) on the parties listed below by placing the same
 in the United States mail with proper postage affixed thereto and addressed as follows :

DAVID JOSEPH HOWARD
JESSICA MILLS HOWARD
1151 BROOKSIDE DRIVE
HANAHAN, SC 29410

Meredith Law Firm LLC
Robert R. Meredith, Jr.
4000 Faber Place Drive, Suite 120
North Charleston, SC 29405-0000


Date: February 08, 2019                                /s/ Kimberly Lamontagne
                                                       Kimberly Lamontagne
                                                       PO Box 997
                                                       Mt. Pleasant, SC 29465-0997
                                                       Phone: (843) 388-9844 x 302
                                                       Fax: (843) 388-9877
                                                       Email: 13office@charleston13.com
